                      Case 1:08-cr-00823-JB              Document 97          Filed 12/15/09             Page 1 of 6
AO 245B (Rev 12/03) Criminal Judgment Sheet 1

                                          UNITED STATES DISTRICT COURT
                                                         District of New Mexico

                  UNITED STATES OF AMERICA                           Judgment in a Criminal Case
                             V.
                    Rosario Aguirre-Garcia                           (For Offenses Committed On or After November 1, 1987)
                                                                     Case Number: 1:08CR00823-001JB
                                                                     USM Number: 40566-051
                                                                     Defense Attorney: Margaret Katze, Appointed
THE DEFENDANT:

c    pleaded guilty to count(s) 1 of Indictment
d    pleaded nolo contendere to count(s)
d    after a plea of not guilty was found guilty on count(s)

The defendant is adjudicated guilty of these offenses:

Title and Section Nature of Offense                                                       Offense Ended              Count
                                                                                                                     Number(s)
21 U.S.C. Sec.     Conspiracy to Violate 21 U.S.C. Sec. 841(b)(1)(A)                      04/04/2008                 1
846

The defendant is sentenced as specified in pages 2 through 5 of this judgment. The sentence is imposed under the Sentencing Reform Act
of 1984.

d    The defendant has been found not guilty on count .
d    Count dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant must notify the United States attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.

                                                                     July 8, 2009
County of Residence                                                  Date of Imposition of Judgment


                                                                     /s/ James O. Browning
                                                                     Signature of Judge


                                                                     Honorable James O. Browning
                                                                     United States District Judge
                                                                     Name and Title of Judge


                                                                     December 15, 2009
                                                                     Date Signed
                      Case 1:08-cr-00823-JB            Document 97           Filed 12/15/09         Page 2 of 6
AO 245B (Rev. 12/03) Sheet 2 - Imprisonment                                                                           Judgment - Page 2 of 5


Defendant: Rosario Aguirre-Garcia
Case Number: 1:08CR00823-001JB


                                                        IMPRISONMENT

The defendant is committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of 57 months.

The Court recommends that Immigration and Customs Enforcement begin removal proceedings during service of sentence.

Defendant Rosario Aguirre-Garcia`s offense level is 27, and his criminal history is category I. His advisory guidelines sentence
range is 70 to 87 months. The Court has considered the guideline range established for the applicable category of offense committed
by the applicable category of defendant. The Court also taken into consideration other sentencing goals. Specifically, the Court
has also considered the factors set forth in 18 U.S.C. § 3553(a)(1)-(7).

The Court has found that Aguirre-Garcia is eligible for the safety valve under 18 U.S.C. § 3553(f), and thus the Court has the
power to impose a sentence "without regard to any statutory minimum sentence." Id. The Court believes that a sentence of 57
months reflects the seriousness of the offense that Aguirre-Garcia has committed and will promote respect for the law, provide
just punishment, and afford adequate deterrence. While the sentence varies from the suggested range under the Sentencing
Guidelines, it is a more reasonable sentence and more faithfully promotes the sentencing goals Congress laid down in 18 U.S.C.
§ 3553(a).

The Court does not believe that Aguirre-Garcia meets the Sentencing Guidelines` definition of a minor participant. See U.S.S.G.
§ 3B1.2. Nonetheless, Aguirre-Garcia`s role as a drug courier warrants some variance. Such individuals are often given lower
sentences in this District and elsewhere along the border, and the Court believes that a sentence in line with what would be, under
the Guidelines, an offense level of 25 is necessary to avoid producing unwarranted sentencing disparities. Aguirre-Garcia is thus
more similarly situated to someone facing an advisory sentence of 57 to 71 months. A sentence of 57 months is appropriate.

A sentence within the guidelines range would be excessive here and would contravene Congress` command that courts impose
sentences that are sufficient but not greater than is necessary to comply with the purposes of punishment set forth in the Sentencing
Reform Act. The Court recognizes the seriousness of the offense Aguirre-Garcia committed, but believes that the sentence it
imposes sufficiently takes that factor into account. A longer sentence would be unnecessarily punitive and would not serve any
useful purpose. The sentence the Court imposes varies from the guidelines, but in these circumstances, such a sentence more
effectively promotes the goals outlined in 18 U.S.C. § 3553(a).

c      The court makes these recommendations to the Bureau of Prisons:

       The Court first recommends Tucson Federal Correctional Institute, Tucson, Arizona, if eligible; and the Court secondarily
       recommends Safford Federal Correctional Institute, Safford, Arizona, if eligible.

c      The defendant is remanded to the custody of the United States Marshal.
d      The defendant must surrender to the United States Marshal for this district:
       d    at on
       d    as notified by the United States Marshal.
d      The defendant must surrender for service of sentence at the institution designated by the Bureau of Prisons:
       d    before 2 p.m. on
       d    as notified by the United States Marshal
       d    as notified by the Probation or Pretrial Service Office.


                                                              RETURN

I have executed this judgment by:
                 Case 1:08-cr-00823-JB          Document 97        Filed 12/15/09         Page 3 of 6


Defendant delivered on ________________________________________________________________ to
______________________________________ at _______________________________ with a Certified copy of this judgment.


                                                           UNITED STATES MARSHAL



                                                           Deputy United States Marshal
                       Case 1:08-cr-00823-JB                  Document 97               Filed 12/15/09            Page 4 of 6
AO 245B (Rev. 12/03) - Sheet 3 - Supervised Release                                                                                   Judgment - Page 4 of 5


Defendant: Rosario Aguirre-Garcia
Case Number: 1:08CR00823-001JB


                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years unsupervised.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the custody of the
Bureau of Prisons. The defendant shall not commit another federal, state, or local crime. The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as directed by the probation officer.

d      The above drug testing condition is suspended based on the courts determination that the defendant possesses a low risk of future substance
       abuse. (Check, if applicable.)
c      The defendant shall not possess a firearm, ammunition, destructive device, or any dangerous weapon. (Check, if applicable).
c      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable).
d      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student, as
       directed by the probation officer. (Check, if applicable)
d      The defendant shall participate in an approved program for domestic violence. (Check, if applicable)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any such fine or restitution that
remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set forth in the Criminal Monetary
Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall also comply with
the additional conditions on the attached page (if indicated below).

                                                      STANDARD CONDITIONS OF SUPERVISION

1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall obtain and maintain full time, legitimate employment, or attend a vocational or academic training program throughout the
       term of supervised release as directed by the probation officer;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
       or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
       unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
       observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
       the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
       personal history and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with such notification
       requirement;
                      Case 1:08-cr-00823-JB   Document 97   Filed 12/15/09      Page 5 of 6
AO 245B (Rev. 12/03) Sheet 3                                                                  Judgment - Page 5 of 5


Defendant: Rosario Aguirre-Garcia
Case Number: 1:08CR00823-001JB


                                    SPECIAL CONDITIONS OF SUPERVISION

The defendant must not reenter the United States without legal authorization.
                      Case 1:08-cr-00823-JB                    Document 97      Filed 12/15/09          Page 6 of 6
AO 245B (Rev.12/03) Sheet 5, Part A - Criminal Monetary Penalties                                                        Judgment - Page 6 of 5


Defendant: Rosario Aguirre-Garcia
Case Number: 1:08CR00823-001JB


                                                CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments.
d        The Court hereby remits the defendant's Special Penalty Assessment; the fee is waived and no payment is required.
Totals:                                      Assessment                           Fine                         Restitution
                                               $100.00                            $0.00                           $0.00


                                                        SCHEDULE OF PAYMENTS
Payments shall be applied in the following order (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5) interest;
(6) penalties.
Payment of the total fine and other criminal monetary penalties shall be due as follows:
The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
A       c In full immediately; or
B       d $ immediately, balance due (see special instructions regarding payment of criminal monetary penalties).

Special instructions regarding the payment of criminal monetary penalties:Criminal monetary penalties are to be made payable
by cashier's check, bank or postal money order to the U.S. District Court Clerk, 333 Lomas Blvd. NW, Albuquerque, New Mexico
87102 unless otherwise noted by the court. Payments must include defendant's name, current address, case number and type of
payment.



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of imprisonment,
payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary penalty payments, except
those payments made through the Bureau of Prisons' Inmate Financial Responsibility Program, are to be made as directed by the court,
the probation officer, or the United States attorney.
